                UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF FLORIDA
                    TALLAHASSEE DIVISION
                  CASE NO. 4:18cv529-MW/CAS

MIKE FOX, et al.,
    Plaintiffs,

versus

KEN DETZNER, in his official capacity as
Florida Secretary of State, et al.,
      Defendants.
_____________________________________/

NOTICE OF FILING EXHIBITS FOR MEMORANDUM IN
    SUPPORT OF MOTION FOR PRELIMINARY
    INJUNCTION (PLAINTIFFS’ EXHIBITS 1-10)

      Plaintiffs submit Exhibits 1-10 to the Memorandum of Law Supporting

the Motion for Preliminary Injunction (DE32).

      Respectfully submitted on December 26, 2018.

S/ Benedict P. Kuehne                    S/ Carl Christian Sautter
BENEDICT P. KUEHNE                       CARL CHRISTIAN SAUTTER
KUEHNE DAVIS LAW, P.A.                   3623 Everett Street NW
Miami Tower, Suite 3550                  Washington, DC 20008
100 S.E. 2nd Street                      Indiana Bar No. 45-53
Miami, FL 33131-2154                     Pro Hac Vice to be Sought
Florida Bar No. 233293                   Tel: 202-285-7560
Tel: (305) 789-5989                      sauttercom@aol.com
Fax: (305) 789-5987                      Attorneys for Plaintiffs
ben.kuehne@kuehnelaw.com
efiling@kuehnelaw.com




                                Page 1 of 2
                         CERTIFICATE OF SERVICE

      I certify that on December 26, 2018, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I also certify that the

foregoing document is being served this day on all counsel of record identified

on the CM/ECF and transmitted in accordance with CM/ECF requirements.

                                                S/ Benedict P. Kuehne
                                                BENEDICT P. KUEHNE




                                  Page 2 of 2
